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                             UNITED STATES DISTRICT COURT

                               DISTRICT OF MASSACHUSETTS


DAVID J. HOWE,                                       CIVIL ACTION NO.: 1:19-cv-12597

                Plaintiff,

vs.

U.S. BANK NATIONAL ASSOCIATION, AS
TRUSTEE FOR THE RMAC TRUST SERIES
2016-CTT and
RUSHMORE LOAN MANAGEMENT
SERVICES LLC,

Defendants.



AFFIDAVIT OF CHRISTOPHER J. WILLIAMSON IN SUPPORT OF DEFENDANTS’
OPPOSITION TO PLAINTIFF’S MOTION FOR EXPEDITED DECISION ON MOTION
                   FOR PRELIMINARY INJUNCTION

I, Christopher J. Williamson, hereby swear and affirm as follows:

      1. I am more than 18 years of age, am competent to make this declaration, and have

personal knowledge of the facts set forth in this declaration.

      2. I am an attorney at Houser LLP, counsel of record for Defendants, U.S. Bank National

Association, as Trustee for the RMAC Trust Series 2016-CTT (the “Trust”) and Rushmore Loan

Management Services LLC (“Rushmore”) (together, the “Defendants”) in the above-referenced

matter. I am admitted to the bar of this Court and make this affidavit in support of the

Defendant’s Opposition to Plaintiff’s Motion for Expedited Decision on Motion for Preliminary

Injunction. I have personal knowledge of each of the matters stated in this affidavit.

      3. Attached hereto as Exhibit A are true and correct copies of email correspondences

between counsel for all parties between January 5, 2020 and January 8, 2020.


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   4. Attached hereto as Exhibit B are true and correct copies of email correspondences

between counsel for all parties between January 9, 2020 and January 10, 2020.

   5. Attached hereto as Exhibit C is a true and correct copy of Plaintiff’s Mortgage

Statement, dated October 11, 2019.

   6. Attached hereto as Exhibit D is a true and correct copy of the search results of the

records of the Middlesex Superior Court from masscourts.org for all civil matters in which the

Plaintiff was a party. The search was conducted on January 16, 2020 at approximately 10:00 a.m.

   7. Attached hereto as Exhibit E are true and correct copies of all executions recorded on 12

Stuart St., Sudbury, MA from 2006 to the present where a discharge of said executions were not

recorded.

   8. Attached hereto as Exhibit F are true and correct copies of the search result of the

records of the Massachusetts Office of Consumer Affairs and Business Regulation Home

Improvement Contract Registration Lookup for all registrations related to the Plaintiff. The

search was conducted on January 16, 2020 at approximately 10:15 a.m.

       I declare under penalty of perjury under the laws of the Commonwealth of Massachusetts

that the foregoing is true and correct.

DATED: January 16, 2020

                           /s/ Christopher J. Williamson_____________
                           Christopher J. Williamson, BBO No. 690589




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                                 CERTIFICATE OF SERVICE

       I, Christopher J. Williamson, hereby certify that on January 16, 2020, a true and correct

copy of the Affidavit of Christopher Williamson in Support of Defendants’ Opposition to

Plaintiff’s Motion for Expedited Decision on Motion for Preliminary Injunction was served via

ECF to:

       Josef Culik
       Kristin L. Thurbide
       Culik Law PC
       101 Federal St., Suite 1900
       Boston, MA 02110

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

Dated: January 16, 2020                     /s/ Christopher J. Williamson_____________
                                            Christopher J. Williamson, BBO No. 690589




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